Case 3:06-cr-30167-DRH       Document 72        Filed 04/19/07   Page 1 of 2   Page ID #151




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.


 JOSE ANTONIO SALAICES-ARENALES,

 Defendant.                                               Nos. 06-CR-30149-DRH
                                                          06-CR-30167-DRH



                              MEMORANDUM and ORDER

 HERNDON, District Judge:

               Pending before the Court are Defendant’s motions for joinder (Docs. 33,

 & 70, respectively) filed in the above cases.1 The motions request the Court to

 consolidate case number 06-30149 with case number 06-30167.                   Unlike civil

 matters, criminal matters cannot be consolidated with like proceedings. Therefore,

 the Court will construe Defendant’s motion as a motion to continue trial, specifically

 requesting that 06-30149 be continued to the trial date of 06-30167. That way, if

 needed, both criminal proceedings can be heard concurrently, but will technically

 remain under separate case numbers, pertaining to separate indictments. Defendant

 maintains that it is in the interest of justice and judicial economy that this motion

 be presented to the Court and that these matters be joined together.                  The

       1
        Defendant filed the same motion in both cases.

                                          Page 1 of 2
Case 3:06-cr-30167-DRH     Document 72     Filed 04/19/07   Page 2 of 2   Page ID #152




 Government does not object to the motion.

              The Court finds that Defendant has a right to have these cases tried

 together. If the Court were to deny a continuance, this would likely result in a

 miscarriage of justice. See 18 U.S.C. § 3161(h)(8)(B)(I). Further, in 06-30149,

 Defendant is the only named Defendant. A continuance will not impact the speedy

 trial rights of any other defendant. Therefore, a continuance is necessary and

 pursuant to 18 U.S.C. § 3161(h)(8)(A), the Court finds that the ends of justice

 served by granting of such continuance outweigh the best interests of the public and

 Defendant in a speedy trial.

              Therefore, the Court GRANTS Defendant’s motions for joinder

 [Continue Trial] (Docs. 33 & 70). The Court CONTINUES the jury trial scheduled

 in case number 06-30149 for May 14, 2007 to Monday, June 4, 2007 at 9:00 a.m.

 The time from the date the original motion was filed, April 17, 2007, until the date

 to which the trial is rescheduled, June 4, 2007, is excludable time for the purposes

 of speedy trial. Additionally, these matters will be tried concurrently. The parties

 shall notify the Court if a change of plea hearing is necessary.

              IT IS SO ORDERED.

              Signed this 19th day of April, 2007.

                                                     /s/      David RHerndon
                                                     United States District Judge




                                      Page 2 of 2
